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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11       REBECCA J. G.,1                              Case No. 8:20-cv-2130-MAR
12                          Plaintiff,                JUDGMENT
13             v.
14       KILOLO KIJAKAZI,
         Acting Commissioner of Social Security,
15
                            Defendant.
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17
              It is the judgment of this Court that the final decision of the Commissioner of
18
     the Social Security Administration is REVERSED, and the action is REMANDED
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     for further proceedings consistent with the Memorandum and Order.
20
21   DATED: November 24, 2021
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23
                                             HON MARGO A.
                                             HON.       A ROCCONI
                                                           RO
24                                           UNITED STATES MAGISTRATE JUDGE
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27   1
      Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and the
     recommendation of the Committee on Court Administration and Case Management of the Judicial
28   Conference of the United States.
